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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

   AMERICAN ALLIANCE FOR
   EQUAL RIGHTS,
                                              Plaintiff,
           v.                                              Case No. 1:23-cv-23189-KMW

   MORRISON & FOERSTER LLP,
                                            Defendant.


                EXPEDITED MOTION FOR PRELIMINARY INJUNCTION
                   (RULING REQUESTED BY OCTOBER 31, 2023)
          Plaintiff, the American Alliance for Equal Rights, moves for a preliminary injunction against

  Defendant, Morrison & Foerster LLP. See Fed. R. Civ. P. 65. For more than a decade, Morrison has

  operated the Keith Wetmore 1L Fellowship for Excellence, Diversity, and Inclusion, which excludes

  certain applicants based on race. Plaintiff has members who are ready and able to apply for the fel-

  lowship in 2024, but cannot because they are the wrong race. Section 1981 prohibits Defendant’s

  racial discrimination. 42 U.S.C. § 1981; see Domino’s Pizza, Inc. v. McDonald, 546 U.S. 470, 474 (2006).

  This Court should hold that Morrison’s fellowship likely violates §1981 and enjoin Morrison from

  opening the application process, selecting fellows, or otherwise operating the fellowship as currently

  structured pending further order of the Court.

          Time is of the essence. Morrison has announced its application process for 2024 “will open in

  November of 2023.” To prevent irreparable harm and provide enough time for appellate review, the

  Alliance respectfully asks this Court to resolve this motion by October 31, 2023.

          I could not confer with opposing counsel because, when this time-sensitive motion was filed,

  no counsel had entered an appearance or contacted the Alliance. The Local Rules also exempt this

  “motion for injunctive relief” from the conference requirement. LR 7.1(a)(3).




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   Dated: August 29, 2023                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
         On August 29, 2023, I e-filed this motion and attachments with the Court and emailed it to

  Defendant’s general counsel. I will also send this motion and attachments, via certified mail, to De-

  fendant along with the other case-opening documents.

                                                                /s/ Michael A. Sasso




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